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                          DECLARATION OF GERARDO ARELLANO

  I, Gerardo Arellano, declare as follows:

         1.      I make this declaration based on my personal knowledge. If called to testify under

  oath, I could do so truthfully and competently.

         2.      I am employed by Frontier Airlines, Inc. (“Frontier”) as the Senior Manager of

  Talent Acquisition and Employee Relations.

         3.      I was personally involved in the interactive process that Frontier engaged in with

  Plaintiff for purposes of attempting to accommodate her alcoholism.

         4.      I was also personally involved in the decision to terminate Plaintiff’s employment

  with Frontier for violating company policy.

  FLIGHT ATTENDANTS’ ESSENTIAL JOB FUNCTIONS

                                      Flexible Hours & Schedules

         5.      A true and correct copy of the Flight Attendant Job Description, is attached as

  Exhibit 1.

         6.      Frontier flight attendants are, and at the time of Plaintiff’s employment, were

  expected to work flexible hours/schedules including nights, weekends and holidays, and to travel

  to all current and future international destinations served by Frontier.

         7.      This availability was and remains an essential function of the flight attendant

  position given the airline industry’s complicated scheduling systems, which largely depend upon

  factors beyond the airline’s control, including customer demand, seasonal travel, aircraft

  maintenance, and weather. Inclement weather alone could require consecutive days of travel,

  including a layover, for crew members, including flight attendants.

                                    Regular & Reliable Attendance




                                          EXHIBIT A
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         8.      Given the nature of the airline industry as described above, regular and dependable

  attendance was and remains critical to Frontier’s operations and remains an essential job function

  of Frontier’s flight attendant position. The importance of this expectation was reflected in

  Frontier’s Employee Handbook. See Ex. 2 (Employee Handbook) at FRONTIER AIRLINES (R.

  BRIGHAM) – 0000365-69.

         9.      A true and correct copy of Frontier’s 2015 Employee Handbook is attached as

  Exhibit 2.

         10.     During the time period relevant to this litigation, Frontier’s attendance policy, the

  “Dependability Policy,” stated that employees incurring eight (8) unexcused absences,

  “Occurrences,” within a twelve (12) month period would be subject to termination. See Ex. 2

  (Employee Handbook) at FRONTIER AIRLINES (R. BRIGHAM) – 0000365-69. A flight

  attendant who failed to report an absence prior to the scheduled start of their shift incurred two

  Occurrences. See id.

         11.     The importance of reliable attendance was also reflected in Frontier’s collective

  bargaining agreement with the Association of Flight Attendants (“AFA”) (the “CBA”), which

  required flight attendants who were unable to report for work because of illness or off-the-job

  injury to notify Crew Scheduling at least two (2) hours prior to their assigned report time. See Ex.

  3 (CBA) at FRONTIER AIRLINES (R. BRIGHAM) – 0000906-07.

         12.     A true and correct copy of Frontier’s collective bargaining agreement with the CBA

  is attached Exhibit 3.

                            Compliance with Leaves of Absence Policies

         13.     To accommodate unexpected circumstances that may require an employee to be

  absent from work for a period of time, Frontier offered and continues to offer various types of



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  leaves including, intermittent leave under the Family Medical Leave Act (“FMLA”). See Ex. 2

  (Employee Handbook) at FRONTIER AIRLINES (R. BRIGHAM) – 0000307-18.

         14.     Frontier’s Leave of Absence Policy emphasized the importance of making

  reasonable efforts to schedule leave in advance to avoid disrupting Frontier’s operations,

  obtaining approval for their leave from Frontier’s Leave of Absence (“LOA”) Department, and

  adhering to Frontier’s policy for reporting absences or be subject to disciplinary action, including

  termination. See Ex. 2 (Employee Handbook) at FRONTIER AIRLINES (R. BRIGHAM) –

  0000312.

         15.     When flight attendants’ needs were foreseeable, employees were asked to provide

  thirty (30) days advance notice of the need to take FMLA leave and when thirty (30) day notice

  was not possible, asked to provide notice as soon as practicable--usually the same day or day

  after learning of the need for leave--and to comply with Frontier's normal call-in procedures. See

  Ex. 2 (Employee Handbook) at FRONTIER AIRLINES (R. BRIGHAM) – 0000312-13.

         16.     An employee who failed to provide adequate notice of an unforeseeable leave or

  failed to comply with Frontier's absence-reporting procedures could be denied leave and/or

  subject to appropriate disciplinary action, up to and including termination of employment. See

  Ex. 2 (Employee Handbook) at FRONTIER AIRLINES (R. BRIGHAM) – 0000313.

  PLAINTIFF’S EMPLOYMENT WITH FRONTIER

         17.     Shortly after commencing her employment with Frontier in 2007, Plaintiff began

  demonstrating a pattern of attendance issues.

         18.     True and correct copies of Frontier’s letters to Plaintiff regarding concerns about

  her attendance issues, including written warnings, are attached as Exhibit 4.

                      Plaintiff’s Self-Disclosure & Frontier’s Accommodations



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         19.     On or around September 7, 2014, Plaintiff disclosed to Frontier that she had entered

  an inpatient rehabilitation program for alcoholism.

         20.     Frontier granted Plaintiff continuous FMLA Leave to complete the sixty (60) day

  inpatient program.

         21.     A true and correct copy of Frontier’s FMLA Designation Notice for Plaintiff dated

  September 16, 2014 is attached as Exhibit 5.

         22.     After completing the in-patient program in October, Plaintiff was cleared to return

  to work without restrictions by her healthcare provider.

         23.     A true and correct copy of the Fitness for Duty Certification form, dated November

  8, 2014, that Frontier received from Plaintiff is attached as Exhibit 6.

         24.     Not long after her return to Frontier, Plaintiff began calling out as “sick,” incurring

  Occurrences under the Dependability Policy. See Ex. 4 (Attendance Warnings) at FRONTIER

  AIRLINES (R. BRIGHAM) – 0001725.

         25.     A few days after receiving a written warning from Frontier, Plaintiff obtained

  paperwork from her medical care provider for purposes of certifying her for Intermittent FMLA

  Leave for four (4) days per month.

         26.     A true and correct copy of the Intermittent FMLA Certification form dated March

  10, 2015 that Frontier received from Plaintiff is attached as Exhibit 7.

         27.     Plaintiff, however, continued to call out “sick” after exceeding the number of

  authorized Intermittent FMLA Leave days per month and failed to abide by the two (2) hours

  minimum notice requirement. See Ex. 4 (Attendance Warnings) at FRONTIER AIRLINES (R.

  BRIGHAM) – 0001128, 1729.

                            Plaintiff’s Requests to Customize her Schedule



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          28.     Plaintiff requested the ability to customize her flight schedule to avoid flights with

  layovers, which she said jeopardized her sobriety.

          29.     This request was discussed during a meeting I had on June 4, 2015, with Cassie

  Micklich, Drug & Alcohol Specialist and Plaintiff to discuss Plaintiff’s continued exhaustion of

  Intermittent FMLA, which Plaintiff recorded.

          30.     Frontier used a court reporter to transcribe Plaintiff’s recording and a true and

  correct copy of that transcript is attached as Exhibit 8.

          31.     I understand that Plaintiff also had her recording of the June 4, 2015 meeting

  transcribed. The transcript attached as Exhibit 9 accurately reflects the conversation that took

  place during that meeting to the best of my recollection.

          32.     During that meeting, Plaintiff specifically asked if Frontier could adjust her flight

  schedule so that she could avoid flights with layovers, including overnight layovers, which she

  said tempted her to drink and therefore, jeopardized her sobriety. See Ex. 8 (Frontier’s transcript

  of June 4, 2015 recording) at FRONTIER AIRLINES (R. BRIGHAM) –0004282, 4285, 4293; Ex.

  9 (Pl.’s transcript of June 4, 2015 recording) at BRIGHAM LM 00000002, 3, 6.

          33.     I told Plaintiff that Frontier wanted to support Plaintiff, but could not adjust

  Plaintiff’s schedule to avoid flights with layovers because doing so would violate the seniority-

  based bidding requirements in the CBA. See Ex. 8 (Frontier’s transcript of June 4, 2015 recording)

  at FRONTIER AIRLINES (R. BRIGHAM) –0004283-84; Ex. 9 (Pl.’s transcript of June 4, 2015

  recording) at BRIGHAM LM 00000003.

          34.     Flight attendants’ schedules were and remain determined by seniority-based

  bidding pursuant to the terms of the CBA. Frontier does not and did not customize trip schedules

  for flight attendants.



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         35.     Pursuant to the CBA at issue in this case, all active Frontier flight attendants were

  required to bid for the flights posted by Frontier and accumulate a minimum of 60 credit hours.

  See Ex. 3 (CBA) at FRONTIER AIRLINES (R. BRIGHAM) – 0000857-58; 869.

         36.     After the bidding process closed, awards were determined by seniority such that if

  multiple flight attendants bid for the same trip, the flight attendant with the greatest seniority was

  awarded the trip. See Ex. 3 (CBA) at FRONTIER AIRLINES (R. BRIGHAM) – 0000915-16.

         37.     After awards were determined, flight attendants had the ability to add, drop, and/or

  swap their scheduled flights on a first-come first-served basis using flights available in “Open

  Time,” but were prohibited from dropping below forty-five (45) credit hours. See Ex. 3 (CBA) at

  Frontier Airlines (R. Brigham) 0000869.

         38.     Frontier has never excused an active flight attendant from the seniority-based

  bidding rules set forth in the CBA to allow that flight attendant to create their own schedule out of

  Open Time to avoid certain types of flights.

         39.     In addition, it was Frontier’s understanding that allowing Plaintiff to build her own

  schedule from Open Time would necessarily penalize other flight attendants, regardless of

  seniority, by taking away alternative and/or additional flight opportunities from other flight

  attendants looking to modify their schedules.

         40.     I told Plaintiff that she could apply for other accommodations, including a personal

  leave or non-FMLA leave or explore other positions with the company. See Ex. 8 (Frontier’s

  Transcript of June 4, 2015 Recorded Meeting) at FRONTIER AIRLINES (R. BRIGHAM) –

  0004283, 4284; Ex. 9 (Pl.’s Transcript of June 4, 2015 Recording) at BRIGHAM LM 00000003.

         41.     Plaintiff indicated that she did not want to transfer internally within Frontier

  because she preferred being a flight attendant and did not want to relocate and/or give up her



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  seniority rights in exchange for a new position. See Ex. 8 (Frontier’s Transcript of June 4, 2015

  Recorded Meeting) at FRONTIER AIRLINES (R. BRIGHAM) – 0004286-87, 4316; Ex. 9 (Pl.’s

  Transcript of June 4, 2015 Recording) at BRIGHAM LM 00000013-14.

                       Plaintiff’s Request to Work in Frontier’s General Office

         42.     Plaintiff also asked whether she could temporarily work at the General Office

  (“GO”) doing administrative work without losing her seniority like Frontier employees on On-the-

  Job (“OJI”) program were permitted to do. This request was also discussed during the June 4, 2015

  meeting. See Ex. 8 (Frontier’s Transcript of June 4, 2015 Recorded Meeting) at FRONTIER

  AIRLINES (R. BRIGHAM) – 0004317; Ex. 9 (Pl.’s Transcript of June 4, 2015 Recording) at

  BRIGHAM LM 00000014.

         43.     The CBA included a collectively-bargained for OJI provision, allowing Frontier the

  discretion to provide flight attendants injured on the job – but only flight attendants injured on the

  job – with temporary light duty assignments in the GO. See Ex. 3 (CBA) at FRONTIER

  AIRLINES (R. BRIGHAM) – 0000922. These assignments were not open job positions. Rather,

  when a flight attendant injured on the job was temporarily unable to work, he or she would be

  permitted to help others in the GO with their own light-duty responsibilities.

         44.     Consistent with the CBA, work at the GO was only provided as an accommodation

  to flight attendants in Frontier’s OJI program, which I explained to Plaintiff. See Ex. 3 (CBA) at

  FRONTIER AIRLINES (R. BRIGHAM) – 0000922-23.

         45.     Shortly after the June 4, 2015 meeting, Plaintiff submitted a revised Intermittent

  FMLA Certification Form, increasing the number of authorized Intermittent FMLA Leave from

  four (4) days per month twelve (12).




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         46.     A true and correct copy of the Intermittent FMLA Certification form dated May 28,

  2015 that Frontier received from Plaintiff is attached as Exhibit 10.

         47.     Plaintiff, however, continued to exhaust her Intermittent FMLA Leave and incurred

  Occurrences for calling out “sick.” See Ex. 4 at FRONTIER AIRLINES (R. BRIGHAM) –

  0001133; see also, Ex. 11 (Pl.’s Leave File) at FRONTIER AIRLINES (R. BRIGHAM) –

  0004842-4871.

         48.     A true and correct copy of Plaintiff’s leave file is attached as Exhibit 11.

         49.     On October 9, 2015, I met with Plaintiff again along with Jeff Varney, Manager,

  Inflight Services and Kari Thompson, Manager, Inflight Services, which Plaintiff recorded.

         50.     Frontier had a court reporter transcribe Plaintiff’s recording of the October 9, 2015

  meeting and a true and correct copy of that transcription is attached as Exhibit 12.

         51.     I understand that Plaintiff also had her recording of the October 9, 2015 meeting

  transcribed. The transcript attached as Exhibit 13 accurately reflects the conversation that took

  place during that meeting to the best of my recollection.

         52.     Plaintiff reiterated how she loved being a flight attendant, particularly because of

  the job’s flexibility and asked whether as an accommodation, she could start with a blank schedule

  and be responsible for building her own schedule up to 60 hours. See Ex. 12 (Frontier’s transcript

  of October 9, 2015 recording) at FRONTIER AIRLINES (R. BRIGHAM) – 0004343; Ex. 13 (Pl.’s

  transcription of October 9, 2015 recording) at BRIGHAM LM 00000032; BRIGHAM LM

  00000030; BRIGHAM LM 00000032, 34.

         53.     I explained that that practice was reserved for flight attendants returning from

  continuous leaves of absence who had not been active flight attendance during the bidding period

  and therefore, could not have bid and that allowing Plaintiff to craft her own schedule would



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  violate the CBA’s seniority provisions, creating the impression that Frontier was “cherry-picking”

  flight attendants to have the benefit of building their own schedules without regard to seniority.

  See Ex. 12 (Frontier’s transcription of October 9, 2015 recording) at FRONTIER AIRLINES (R.

  BRIGHAM) – 0004387, 4392, 4395; Ex. 13 (Pl.’s transcription of October 9, 2015 recording) at

  BRIGHAM LM 00000032

         54.     I also recall that Ms. Thompson explained to Plaintiff that a lot of flight attendants

  would have also wanted to start with a clean slate for the month and be allowed to create their own

  schedule.

         55.     At this point, Frontier had already been allowing Plaintiff to use Intermittent FMLA

  for purposes other than those included in her certifications (i.e. relapse prevention counseling and

  support group meetings) by allowing her to use Intermittent FMLA Leave to avoid flights with

  overnight layovers. See Ex. 6 (Fitness for Duty Certification form dated Nov. 8, 2014); Ex. 7

  (FMLA Certification form, dated March 10, 2015); Ex. 10 (Intermittent FMLA Certification form,

  dated May 28, 2015); Ex. 11 (Pl.’s leave file) at FRONTIER AIRLINES (R. BRIGHAM) –

  0004845.

         56.     A true and correct copy of the email I sent to Ms. Coppedge dated Oct. 15, 2015

  regarding making exceptions for Plaintiff is attached as Exhibit 14.

         57.     I emphasized to Plaintiff that ultimately, Frontier needed employees who could

  come to work, but reminded her that she could apply for a personal leave as a further

  accommodation, additional Intermittent FMLA Leave, and/or for another internal position within

  the company.

         58.     I also notified Plaintiff that a Flight Training Coordinator position was coming

  available. Plaintiff, however, repeated her concerns about losing her seniority. See Ex. 12



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  (Frontier’s transcription of October 9, 2015 recording) at BRIGHAM LM 0000004397; Ex. 13

  (Pl.’s transcription of October 9, 2015 recording) at BRIGHAM LM 00000035, 36.

          59.     In addition, I recall Ms. Thompson encouraging Plaintiff to regularly check for

  other internal opportunities on the company’s internal Ultipro system.

  Frontier’s Termination of Plaintiff’s Employment

          60.     Less than ten (10) days after the October 9, 2015 meeting, Plaintiff failed to report

  for a four (4) day trip.

          61.     A true and correct copy of the email that Frontier received from Plaintiff on October

  26, 2015 regarding Plaintiff’s admitted failure to notify the LOA Department that she was choosing

  to use Intermittent FMLA Leave for a four (4) day trip scheduled to begin on October 23, 2015 is

  attached as Exhibit 15.

          62.     Regardless, Plaintiff had exhausted her available Intermittent FMLA Leave by

  October 19, 2015. See Ex. 11 (Plaintiff’s leave file) at FRONTIER AIRLINES (R. BRIGHAM) –

  0004885.

          63.     Frontier denied Plaintiff’s request to use Intermittent FMLA Leave for the four (4)

  day trip for her lack of timely notice.

          64.     A true and correct copy of the email that I received from Shelly Leyner on Oct. 27,

  2015 regarding the denial of Plaintiff’s request to use Intermittent FMLA Leave for lack of timely

  notice to the LOA Department is attached as Exhibit 16.

          65.     On or around October 30, 2015, Frontier sent Plaintiff a letter indicating that

  pursuant to the CBA, an Investigatory Meeting had been scheduled for November 3, 2015 for

  Plaintiff to attend to discuss her violations of the Dependability Policy. A true and correct copy of

  that letter is attached as Exhibit 17.



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         66.       Ultimately, based upon Plaintiff’s violation of Frontier’s Dependability Policy and

  policy concerning use of intermittent FMLA leave as well as Plaintiff’s violation of the CBA’s

  requirements for “Sick Calls,” Frontier believed that Plaintiff was not a dependable or reliable

  employee. See Ex. 4 (Attendance Warnings); Ex. 11 (Pl.’s Leave File).

         67.       On November 11, 2015, Frontier informed Plaintiff that it was terminating her

  employment effective immediately for incurring ten (10) Occurrences within a twelve (12) month

  period in violation of the Dependability Policy under which eight (8) Occurrences subjected an

  employee to termination.

         68.       A true and correct copy of the termination letter Frontier sent to Plaintiff is attached

  as Exhibit 18.

  I have read this declaration and declare under penalty of perjury that the foregoing is true and

  correct to the best of my knowledge, information, and belief.

         Dated: November 17, 2020


                                                  /s/ Gerardo Arellano
                                                  Gerardo Arellano




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